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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GEICO MARINE INSURANCE
COMPANY,

                           Plaintiff,              20 Civ. 2081 (KPF) (SN)
                    -v.-                                ORDER OF
                                                     DISCONTINUANCE
HUDSON VALLEY PRODUCTION and
OTONIEL ZORRILLA,

                           Defendants.

KATHERINE POLK FAILLA, District Judge:

      On October 20, 2020, it was reported to the Court that the parties in this

action have reached a settlement. Accordingly, it is hereby:

      ORDERED that this action be conditionally discontinued without

prejudice and without costs; provided, however, that within thirty (30) days of

the date of this Order, the parties may submit to the Court their own

Stipulation of Settlement and Dismissal for the Court to So Order. Otherwise,

within such time Plaintiff may apply by letter for restoration of the action to the

active calendar of this Court in the event that the settlement is not

consummated. Upon such application for reinstatement, the parties shall

continue to be subject to the Court’s jurisdiction, the Court shall promptly

reinstate the action to its active docket, and the parties shall be directed to

appear before the Court, without the necessity of additional process, on a date

within ten (10) days of the application, to schedule remaining pretrial

proceedings and/or dispositive motions, as appropriate. This Order shall be

deemed a final discontinuance of the action with prejudice in the event that
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